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_________________________________________________________________________________

                                                  SO ORDERED,



                                                  Judge Jason D. Woodard
                                                  United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________



                        UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF MISSISSIPPI

In re:                                      )
                                            )
         JASON FLY LOGGING, LLC,            )               Case No.: 18-10483-JDW
                                            )
              Debtor.                       )               Chapter 11

  ORDER SETTING EXPEDITED HEARING ON MOTION TO BORROW (DKT. # 6)

        This matter is before the Court on the Motion to Expedite Hearing (the “Motion to
Expedite”)(Dkt. # 7) on the Motion to Enter into Credit Line with Dragon Woodland
Corporation for Operating Capital Pursuant to 11 U.S.C. § 364 (the “Motion to Borrow”)(Dkt.
#6) filed by Jason Fly Logging, LLC (the "Debtor"). The Court finds the Motion to Expedite
well-taken. Accordingly, it is hereby

         ORDERED, ADJUDGED and DECREED that

   1. the Debtor’s Motion to Expedite (Dkt. # 7) is GRANTED;

   2. the hearing on the Motion to Borrow (Dkt. # 6) is scheduled for 10:00 a.m. on Tuesday,
      February 20, 2018, to be held at Thad Cochran U. S. Bankruptcy Courthouse, 703
      Hwy. 145 North, Aberdeen, MS 39730; and

   3. Counsel for Debtor is directed to serve a copy of this Order and the Motion to Borrow
      and any exhibits thereto on all parties required to be served under Rule 4001(b) of the
      Federal Rules of Bankruptcy Procedure by the most expeditious method(s) possible.
      Counsel for the Debtor is further ordered to file a Certificate of Service with this Court,
      indicating the date, time, and method(s) of service by Friday, February 16, 2018.

                                    ##END OF ORDER##
